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In the Gunited States District Court

for the Southern District of Georgia
Waprross Division

UNITED STATES OF AMERICA,

5:21-cr-9-20

BRETT DONAVAN BUSSEY,

Defendant.

ORDER

Defendant Brett Bussey moved to suppress wiretap evidence.
Dkt. No. 651. The Magistrate Judge issued a Report and
Recommendation that the Court deny Bussey’s Motion. Dkt. No. 1202.
Bussey filed Objections to the Magistrate Judge’s Report and
Recommendation. Dkt. No. 1231. After conducting an independent
and de novo review of the entire record in this matter, the Court
CONCURS with the Magistrate Judge’s Report and Recommendation,
ADOPTS the Report and Recommendation as the opinion of the Court,
and OVERRULES Bussey’s Objections.

BACKGROUND

The Government alleges in this case that a Transnational
Criminal Organization (“TCO”) illegally used the H-2A visa program
for non-immigrant workers. The Government alleges that TCO members

used the program to “smuggle foreign nationals . . . [and] make
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money by exploiting these foreign workers and then laundering the
illegal proceeds.” Dkt. No. 1012 at 2.

On October 18, 2019, the Government filed an Application for
Original Interception of Wire and Electronic Communications.
Dkt. No. 885-1. The application sought permission to intercept
wire and electronic communications of several Target Subjects
through a phone bearing a number ending in -4465 (“Target Telephone
1” or “TT1”) and used by Bussey. Id. at 2. The application
concerned potential violations of 18 U.S.C. §§ 371, 1343, 1546,
1589, 1590, and 1592 (the “Target Offenses”). Id. at 3. The
Government provided an affidavit in support of its application.
Dkt. No. 651-1. The Court issued an Order authorizing interception
of wire and electronic communications. Dkt. No. 885-2.

In his Motion to Suppress, Bussey argues that the affidavit
supporting the wiretap application contained a series of
misrepresentations and omissions. Dkt. No. 651 at 5. Without
these misrepresentations and omissions, argues Bussey, the
affidavit did not support probable cause to approve’ the
application.1 Id. at 19. Bussey argues these misrepresentations
and omissions were reckless and he requests a Franks hearing.

The Magistrate Judge issued a Report and Recommendation that

the Court deny Bussey’s Motion to Suppress and his request for a

1 In the Motion, Bussey also argues that the Government did not
adequately demonstrate that a wiretap was necessary. Dkt. No. 651 at
22. Bussey does not object to the Magistrate Judge’s conclusions on the
issue of necessity.
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Franks hearing for several reasons. Dkt. No. 1202. The Magistrate
Judge concludes that, even if the alleged misrepresentations and
omissions Bussey cited were removed, the affidavit would still
support a finding of probable cause. Id. at 20-22. The Magistrate
Judge examines each of the purported misrepresentations and
omissions. The Magistrate Judge concludes that Bussey did not
make a substantial showing that any of the alleged
misrepresentations or omissions undermined probable cause. Id. at
22-42.

In his Objections, Bussey argues that the Magistrate Judge
errs in three ways. First, Bussey argues the Magistrate Judge
incorrectly concludes that the unchallenged portions of the
affidavit supported probable cause to approve the wiretap.
Dkt. No. 1231 at 3. Specifically, Bussey argues that the
unchallenged portions of the affidavit constitute unsupported
conclusory statements that cannot be used to establish probable
cause. Id. at 3-7. Next, Bussey argues that, contrary to the
Magistrate Judge’s recommendation, the affidavit’s
misrepresentations and omissions did, in fact, undermine probable
cause. Id. at 7-26. Finally, Bussey argues that the Magistrate
Judge does not address his argument that the affidavit did not
sufficiently connect his phone (i.e., TT1) to criminal activity.

Id. at 26-27.
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DISCUSSION
I. The Affidavit’s Unchallenged Portions
In his Objections, Bussey challenges the Magistrate Judge’s
conclusion that, even if all challenged portions of the affidavit
were removed, the affidavit’s unchallenged portions. still

established probable cause. Bussey cites Franks v. Delaware for

the proposition that “a warrant affidavit must set forth particular
facts and circumstances underlying the existence of probable
cause, so as to allow the magistrate to make an independent
evaluation of the matter.” 438 U.S. 154, 165 (1978). Bussey
argues that the unchallenged portions of the affidavit fail to
meet this standard because they are “conclusory statements of the
affiant” and do not establish probable cause. Dkt. No. 1231 at 5.
As Bussey characterizes it, these statements include the affiant’s
assertions that: (1) the affiant believed there was probable cause
to believe that Bussey committed the Target offenses; (2) three of
Bussey’s petitions contained fraudulent information; (3) the
Department of State rejected 833 visas associated with Bussey’s
petitions due to inaccurate or incomplete information; and
(4) Bussey was linked to other Target Subjects through TT1 and
those Target Subjects committed Target Offenses. Id. at 3-4.

A court authorizing a wiretap must “make a practical, common-
sense decision about whether the totality of the circumstances

indicate that there is probable cause that the sought-for evidence
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will be obtained.” United States v. Nixon, 918 F.2d 895, 900 (11th

Cir. 1990) (punctuation omitted) (quoting Illinois v. Gates, 462

U.S. 213, 238 (1983)). The issuing judge’s decision is entitled
to “great deference . . . even in marginal or doubtful cases.”

Id. (citing United States v. Lockett, 674 F.2d 843, 845 (11th Cir.

1982)). In reviewing the issuance of a wiretap, the Court should
only determine if the issuing judge “had a substantial basis for
concluding that probable cause existed.” Id. (cleaned up) (quoting
Gates, 462 U.S. at 238-39).

After reviewing the record, the Court concurs with the
Magistrate Judge’s view that the affidavit’s unchallenged portions
established probable cause. The unchallenged portions of the
affidavit are not mere conclusions, unsupported by any evidence
but, rather, constitute sworn allegations that contributed to a
finding of probable cause. The affiant provided a detailed
recitation of facts, supported by a variety of sources. Dkt. No.
651-1. As to Bussey, the affiant stated, “[(A]gents determined
that Brett Bussey submitted three petitions with fraudulent
information. In addition, DOS has refused 833 visas associated
with Brett Bussey’s Petitions because of inaccurate or incomplete
information.” Id. @ 42. The affiant also linked TT1 to several
other Target Subjects. Id. @ 131. These are specific factual

circumstances, not unsupported conclusions.
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Bussey argues separately that the State Department’s refusal
of visas is not an indication of fraud and that links between
Bussey and other Target Subjects are not sufficient to establish
probable cause. These arguments are largely repetitive of
arguments Bussey makes in his brief supporting the Motion to
Suppress. See Dkt. No. 651 at 5-6. The Magistrate Judge
thoroughly considers these arguments and correctly rejects them.
Dkt. No. 1202 at 30-31. I concur with the Magistrate Judge’s
analysis. A history of visa refusals, prior applications flagged
for fraud, and the extensive phone contact between TT1 and other
Target Subjects (many of whom allegedly committed Target Offenses)
all support probable cause for a wiretap of TT1l. Thus, the
unchallenged, specific factual circumstances in the affidavit
provided a substantial basis to find probable cause to authorize
a wiretap.

II. Alleged Misrepresentations and Omissions

Bussey argues that the Magistrate Judge errs by concluding
that alleged misrepresentations and omissions in the affidavit did
not materially impact probable cause. The Court will address each
of Bussey’s enumerations of error in turn.

A. The ETA 9142 Certification

The affidavit included a description of Form ETA 9142, which
is a temporary employment certification submitted to the

Department of Labor. Dkt. No. 651-1 (f]! 28-29. The affiant stated
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that both employers and their agents sign the ETA 9142 under
penalty of perjury. Id. @ 31. The affiant explained that Bussey,
as an agent, submitted an ETA 9142 electronically on January 28,
2019. Id. @ 43. Bussey argues in his Motion that this is a
misrepresentation and that an agent does not sign under penalty of
perjury. Dkt. No. 651 at 7-8 (referencing Dkt. No. 637 at 6).

The Magistrate Judge agrees with Bussey that the affiant’s
statement constituted a misrepresentation. Dkt. No. 1202 at 24.
An agent does not sign an ETA 9142 under penalty of perjury, while
an employer does. Id. However, the Magistrate Judge also
concludes that this misrepresentation did not undermine a finding
of probable cause. While an agent’s certification for an ETA 9142
does not include a penalty of perjury clause, the agent still
certifies the ETA 9142 and faces criminal penalties if he knowingly
furnishes false information. Id. Therefore, the Magistrate Judge
states that Bussey’s signature on a potentially fraudulent ETA
9142 contributed to probable cause, regardless of whether the
signature was under penalty of perjury. Id.

In his Objections, Bussey argues that the Magistrate Judge
fails to address the differences between Form ETA 9142A-Appendix,
which contains the penalty of perjury clause, and Form ETA 9142A,
which does not. Dkt. No. 1231 at 8. Bussey argues that this is
Significant because an employer uses Appendix A of Form ETA 9142A

to certify an application. Id. Bussey also argues that an
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employer’s certification in Appendix A is three pages long, is
greatly detailed, and states that the employer takes “full
responsibility for the accuracy of any representations made by my
agent or attorney.” Id. In contrast, the agent’s certification
is only one paragraph. Id. at 9. Bussey concludes that, when
taken together, these “facts and omissions would defeat,a showing
of probable cause.” Id.

Bussey’s argument that the Magistrate Judge did not
distinguish between the ETA 9142 and the Appendix is unconvincing.
The Magistrate Judge accurately cites the certifications that both
the employer and the agent sign. The fact that these
certifications are found in the Appendix to Form ETA 9142A, rather
than on From ETA 9142A itself, changes nothing about any material
facts. The remainder of Bussey’s Objection restates arguments he
makes in the Motion to Suppress, and the Court concurs with the
Magistrate Judge’s analysis of those arguments. Bussey, as an
agent, signed the ETA 9142A Appendix and subjected himself to
potential criminal prosecution if he knowingly furnished false
information. Bussey’s signature on the application, while not
under penalty of perjury, is still meaningful and contributes to
a finding of probable cause.

B. The Address Listed on the ETA 9142

The affidavit stated that the ETA 9142 that Bussey submitted

listed 224 Meadow Road, Alma, Georgia, as a worksite. Dkt. No.
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651-1 @@ 43. The affidavit also stated that the ETA 9142 was
accompanied by a letter signed by grower Cory Burnam, listing 224
Meadow Road aS a work location. Id. The affidavit explained that
agents went to 224 Meadow Road to ask the owner if she had requested
H-2A workers. The owner’s husband stated that she had not. Id.
q@ 45.

The Magistrate Judge identifies four challenges that Bussey
raises to the affiant’s discussion of 224 Meadow Road. First,
Bussey argues that the affidavit failed to explain that 224 Meadow
Road was only one of 21 worksites listed on the ETA 9142. Second,
Bussey argues that the affidavit failed to explain that the letter
from Burnam included GPS coordinates that correspond to a location
0.3 miles away from 224 Meadow Road. Third, Bussey argues that
the affidavit failed to disclose that Burnam’s letter was signed
by the employer and not by Bussey. Finally, Bussey argues that
the affidavit failed to describe email and phone communications
between Burnam and government agents, in which there was no mention
of Bussey. The Magistrate Judge finds each of these arguments
unconvincing. Dkt. No. 1202 at 25-29.

In his Objections, Bussey largely reiterates the same
arguments he makes in his Motion. First, Bussey reiterates that
the affidavit failed to explain that the ETA 9142 listed 21
worksites, not just 224 Meadow Road. Dkt. No. 1231 at 9-10. This

Objection is not responsive to the Magistrate Judge’s analysis.
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The Magistrate Judge explains that “(t]he alleged problems with
the 224 Meadow Road site would still exist even if there were no
problems with any other site.” Dkt. No. 1202 at 26. Bussey’s re-
urging of the same argument does not address the problems with the
224 Meadow Road worksite, and the Court concurs with the Magistrate
Judge’s analysis. Regardless of how many worksites were listed,
agents investigated and identified a site listed on an application
for H-2A workers but discovered the owner of that site did not
request any H-2A workers. This fact supports probable cause to
authorize the wiretap, and whether the application listed any other
sites does not materially impact that conclusion.

Next, Bussey argues that the Magistrate Judge fails to
appropriately address a discrepancy in the Burnam letter
concerning the physical address of 224 Meadow Road.? Dkt. No. 1231
at 11. The Burnam letter that accompanied the ETA 9142 contained
a list of worksite addresses. Those addresses were accompanied by
GPS coordinates. Dkt. No. 637-4. Bussey argues, as he does in
his Motion, that the GPS coordinates for “worksite 1” correspond
to 246 Meadow Road, an address that apparently does not exist.
Dkt. No. 1231 at 11-12. The Magistrate Judge addresses this

argument and concludes that the GPS coordinates being slightly off

2 Relatedly, Bussey disputes the affiant’s characterization of the
document as a “letter” and argues it is a “fully executed work contract.”
Dkt. No. 1231 at 10. The characterization of the document is immaterial
to the probable cause analysis. As the affidavit refers to the document
as a “letter,” the Court will continue to do so.

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from 224 Meadow Road does not undermine probable cause. Dkt. No.
1202 at 26-27. Bussey argues, however, that “inserting the GPS
coordinates supplied by Burnam returned a non-existent street
address, but whose pin location is directly across the street from
224 Meadow Road.” Dkt. No. 1231 at 12. Bussey argues that the
failure to explain the disparity between the GPS coordinates and
the street address undermines probable cause. Id.

It is unclear from Bussey’s argument what omission he believes
the affiant made. In any case, the Magistrate Judge explains that
Bussey “does not dispute that the physical 224 Meadow Road address
was present on both Burnam’s letter and Bussey’s ETA 9142. The
ETA 9142 listed 224 Meadow Road as a worksite, as did the letter.”
Dkt. No. 1202 at 27. Therefore, it was reasonable for agents to
rely on the two instances of the 224 Meadow Road street address,
rather than the GPS coordinates in Burnam’s letter. Bussey has
not addressed this point.

The Court concurs with the Magistrate Judge’s analysis.
224 Meadow Road was listed on the ETA 9142 and on the Burnam
letter, agents conducted a site visit at that address, and agents
found no evidence that H-2A workers had ever been requested there.
These facts support a finding of probable cause, and Bussey’s GPS
argument does not allege a material omission to challenge them.

Finally, Bussey contends that the Magistrate Judge improperly

discounts Bussey’s argument about the content of Burnam’s letter

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and Burnam’s contacts with government agents. The Magistrate Judge
concludes that none of the letter’s content would have undermined
probable cause if it had been described in the affidavit. Dkt. No.
1202 at 28-29. Bussey objects, arguing that the letter is properly
a “fully executed work contract” signed by both Burnam and the
employer, but not by Bussey. Dkt. No. 1231 at 13. Bussey also
argues that investigators’ case notes do not show any contact
between Burnam and Bussey. Id.

Bussey’s argument appears to be that, had the affidavit
mentioned that the letter was signed by Burnam and the employer,
but not Bussey, probable cause would be materially lessened. In
addition, Bussey argues, had the affidavit mentioned that
investigators’ case notes do not indicate any mention of Bussey in
their conversations with Burnam, that would also materially lessen
probable cause.

Bussey’s arguments are unconvincing. These proposed
alterations would, at most, show that Burnam and the employer
signed the letter and that investigators had conversations with
Burnam during which Bussey was not mentioned. Thus, Burnam had
contact with people other than Bussey. These alterations do not
in any way lessen probable cause to authorize a wiretap of TT1l.
Therefore, Bussey has not shown that any alleged omissions
regarding the Burnam letter would materially impact probable

cause.

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Cc. Bussey’s Notice of Deficiency Letter °

The affidavit stated that Bussey received a Notice of
Deficiency (“NOD”) from the Department of Labor because the ETA
9142 he submitted “failed to provide proper documentation on the
transportation of workers, failed to provide an original surety
bond, and failed to provide a current hotel inspection where the
workers would stay.” Dkt. No. 651-1 9 44. Bussey argues in his
Motion that the affidavit should have explained that an NOD is
“standard practice.” Dkt. No. 651 at 7-8 (referring to Dkt. No.
637 at 10-11, 13).

The Magistrate Judge explains that Bussey’s argument is
essentially a request for a more favorable characterization of the
NOD process and one that does not materially affect probable cause.
Dkt. No. 1202 at 30. The Magistrate Judge also explains that
Bussey has not shown that NODs are “standard practice.”

In his Objections, Bussey argues that the affidavit
erroneously suggested “that the sending of an NOD is a marker of
fraud.” Dkt. No. 1231 at 15. Bussey also argues that the
Magistrate Judge errs in stating that Bussey “has not shown that
NODs are standard practice.” Id.

Bussey’s Objections concerning the NOD are not convincing.
The affidavit stated that Bussey received an NOD and that he sent
documents back that were responsive to the NOD. Bussey has not

shown that the affiant was required to characterize NODs as

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“standard practice,” as such a characterization is not a material
fact. As the Magistrate Judge explains, “[I]nnocent behavior
frequently will provide the basis for a showing of probable cause
because such a showing only requires a probability or substantial
chance of criminal activity, not an actual showing of such

activity.” Dkt. No. 1202 at 30 (quoting Gates v. Khokhar, 884

F.3d 1290, 1298 (11th Cir. 2018)). Bussey’s arguments are grounded
in his belief that receiving an NOD is not, in itself, an indicator
of fraud. Bussey fails to address, however, that even seemingly
innocent behavior can contribute to probable cause. Bussey’s

arguments do not demonstrate any material omissions regarding the

NOD.

D. The Confidential Source’s Criminal History

The affidavit relied in part on conversations between Bussey
and a Confidential Source (“CS”). The affidavit disclosed the

CS’s criminal history, but Bussey argues in the Motion that the
affiant omitted important details, including facts about the CS’s
past sexual assault convictions. Dkt. No. 651-1 @ 12.

The Magistrate Judge concludes that the affidavit
sufficiently described the CS’s history of sexual assault
convictions, even if it omitted some detail. Dkt. No. 1202 at 31-
32. The Magistrate Judge also concludes that, even if additional

information about the CS’s criminal history could erode the CS’s

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credibility, the affidavit’s factual allegations did not depend on
the CS’s credibility. Id. at 32.

Bussey argues in his Objections that a fuller disclosure of
the CS’s criminal history would have shown a history of
“exploitation of the vulnerable[,]” which would impact the CS’s
credibility. Dkt. No. 1231 at 17. Bussey also explains that the
CS, in a later meeting with Bussey, plied Bussey with alcohol,
knowing that he had a history of chronic alcohol abuse. Therefore,
argues Bussey, the affidavit’s factual allegations do depend on
the CS’s credibility. Id.

A more complete description of the CS’s criminal history would
not materially impact probable cause. As the Magistrate Judge
explains, the affidavit disclosed the CS’s criminal history in
detail, including that the CS had prior convictions for sexual
assault. Bussey argues that additional information would “show a
shocking abuse of trust” but fails to explain why the affidavit’s
description does not already disclose enough information to
evaluate the CS’s reliability. Id.

In addition, Bussey’s argument that the affidavit depends on
the CS’s credibility is unavailing. Bussey argues that the
Magistrate Judge “ignores what even the Magistrate noted was
troubling conduct,” but Bussey fails to explain how the CS’s
credibility impacts the affidavit’s factual allegations. The

allegations in the affidavit about the CS’s meetings and calls

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with Bussey are based on recordings of those conversations and,
therefore, are independently corroborated. Additionally, the
affidavit does not depend on any statements Bussey made at the
meeting where the CS gave him alcohol. Thus, Bussey has not shown
any material omissions related to the CS’s criminal history or use
of alcohol that would undermine probable cause.

E. Meetings and Calls With the CS

The affidavit described several meetings and calls between
the CS and Bussey. The CS met with Bussey on April 30, 2019 and
August 20, 2019. Dkt. No. 651-1 4%] 122-27. The two also had a
telephone call on September 30, 2019. Id. 47 128-30. Bussey
raises challenges related to the Magistrate Judge’s determinations
about these meetings and the call.

1. The April 30, 2019 meeting.

The affidavit briefly described a meeting between Bussey and
the CS on April 30, 2019. Id. 97 122. Bussey argues in his Motion
that the affiant should have described the meeting in more detail,
particularly the facts that the CS, with the knowledge of
government agents, actively plied Bussey with alcohol and that
Bussey became heavily inebriated at the meeting. Dkt. No. 651 at
12-15.

The Magistrate Judge concludes that none of the additional
details about the meeting that Bussey argues should have been

included would have materially impacted probable cause. The
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Magistrate Judge concludes these details would not have undermined
or contradicted the other incriminating statements Bussey made
during the meetings and call. Dkt. No. 1202 at 32-34.
Additionally, the Magistrate Judge notes that Bussey does not show
that the affiant relied on any statements Bussey made at the April
30, 2019 meeting.

Bussey objects, largely focusing on his own detailed
description of the April 30, 2019 meeting. Dkt. No. 1231 at 18-
21. Bussey also argues that the Magistrate Judge’s conclusion
“disregards the fact that alcohol is well known to impair the
user.” Id. at 21. Bussey’s argument misses a key aspect of the
Magistrate Judge’s analysis. The Magistrate Judge acknowledges
that the agents’ and the CS’s conduct was troubling. However, the
Magistrate Judge also explains, “The affidavit does not rely on
any of Bussey’s statements made during the April 30, 2019 meeting
[where the CS gave Bussey alcohol], so none of Bussey’s statements
during that meeting were used to support a finding of probable
cause.” Dkt. No. 1202 at 34. Bussey’s Objection does not address
this conclusion.

The Court concurs with the Magistrate Judge’s analysis on
this point. The affidavit does not rely on any representations
that Bussey made during the April 30, 2019 meeting. Therefore,
Bussey has not shown that anything he said at the meeting would

have materially impacted probable cause if the affidavit had

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described the meeting in more detail. Additionally, nothing that
Bussey claims occurred during the meeting would undermine his other
incriminating statements, which were included in the affidavit to
support probable cause.

Bussey also makes much of the “reckless” conduct of agents
and the CS. Dkt. No. 1231 at 21. This argument is unavailing
because, as the Magistrate Judge notes, the Court need not evaluate
recklessness because none of the alleged misrepresentations or
omissions materially impacted probable cause. Dkt. No. 1202 at 34
n.19.

2. The August 20, 2019 meeting.

The affidavit described a second meeting between Bussey and
the CS, including several statements Bussey made that contributed
to probable cause. The affidavit also stated that Bussey
“arranged” the meeting with the CS. Bussey argues in his Motion
that the affidavit either misrepresented or omitted several
important aspects of that meeting. Dkt. No. 651-1 4] 22-27. The
Magistrate Judge analyzes each of Bussey’s challenge and concludes
that none of the alleged misrepresentations or omissions
materially impacted probable cause. Dkt. No. 1202 at 34-39.

In his Objections, Bussey contends that the Magistrate
Judge’s conclusions contradict Bussey’s own statements made during

the August 20, 2019 meeting. Dkt. No. 1231 at 21-23. Bussey also

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reiterates his argument from his Motion that he did not “arrange”
the August 20, 2019 meeting. Id. at 23.

After a thorough review of the record, the Court concurs with
the Magistrate Judge’s conclusions about the August 20, 2019
meeting. Bussey’s Objections largely restate his arguments from
the Motion. As the Magistrate Judge explains in detail, all of
the omissions and misrepresentations that Bussey identifies
constitute, at most, minor discrepancies. Importantly, none of
these omissions or misrepresentations materially impact probable
cause. Each of these challenges, therefore, fail.

In addition, Bussey’s argument that he did not “arrange” the
meeting does not identify a material misrepresentation. It is
undisputed that Bussey and the CS talked using TT1 and agreed to
meet on August 20, 2019. Who initiated the conversation does not
change the fact that Bussey used TT1 to discuss and coordinate
(i.e., arrange) the meeting with the CS.

3. The September 30, 2019 call.

The affidavit explained that on September 30, 2019, Bussey
and the CS spoke on the phone. Dkt. No. 651-1 If] 128-30. On the
call, Bussey and the CS discussed a trip Bussey took to the
American consulate in Mexico. In discussing the call, the affiant
stated, “Based on this entire investigation and my training and
experience, I believe that Bussey used Target Telephone 1 to

explain that he went to the consulate office in Mexico to meet

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with individuals to try to push his fraudulent H-2A petitions
through without officials denying visas.” Dkt. No. 651-1 @ 128a.

In the Motion, Bussey argues that the affiant
mischaracterized the call. Bussey argues that the call
demonstrates he went to Mexico to “improve the success of his
petitions, which were legally submitted.” Dkt. No. 651 at 17.
Bussey points to a memorandum written by a consular officer who
spoke to him at the visit in support. Id. at 18. The memorandum
summarized the meeting between the consular officer and Bussey,
and Bussey argues it demonstrates the innocent purpose of the trip.
Id.

The Magistrate Judge concludes that Bussey failed to identify
any misrepresentation or omission related to the September 30,
2019 call (or the trip to Mexico) that would materially impact
probable cause. Dkt. No. 1202 at 39-41. Specifically, the
Magistrate Judge concludes the addition of a description of the
memorandum to the affidavit would not have changed or materially
impacted any facts in the affidavit. Id. at 39-40. In addition,
the Magistrate Judge observes that Bussey’s challenge largely
focuses on descriptions of the affiant’s subjective beliefs, not
material misrepresentations or omissions. Id. at 40-41.

In his Objections, Bussey repeats his argument that the

affidavit does not present “a proper reading” of what happened on

the September 30, 2019 call. Dkt. No. 1231 at 24. Bussey again

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points to the State Department memorandum, ostensibly to show that
the purpose for the trip was innocuous. Id. at 24-25. Bussey
also characterizes the affiant’s statements about the meeting as
speculative and contends there was nothing “untoward” about the
meeting. Id. at 25. As a final point, Bussey states that the day
after the call, the CS met with Bussey again and “got Bussey
drunk.” Id.

Bussey’s arguments are unconvincing. It is undisputed that
the affidavit quoted Bussey’s own statements from the call. The
affidavit stated that Bussey told the CS during the September 30,
2019 call that he (Bussey) recently went to Mexico for the purpose
of “getting these people over here . . . because a lot of the
people were held up and they were not allowed visas this past
year.” Dkt. No. 651-1 @@ 129a. The affidavit also stated that
Bussey told the CS he wanted to go to the consulate to “clear [his]
name and all that.” Id. MThus, the affidavit included Bussey’s
representations to the CS that he wanted to go to the consulate
for a legitimate purpose (i.e., to “clear [his] name”). The State
Department memorandum does not change or undermine any statement
in the affidavit, particularly Bussey’s verbatim statements made
during the September 30, 2019 call.

Bussey’s challenge to the affiant’s description of his
subjective beliefs are also unavailing. The affiant described his

belief, based on the entire investigation and his training and

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experience, that Bussey actually went to Mexico in support of his
fraudulent H-2A visa applications. Id. As the Magistrate Judge
explains, the “opinions and conclusions of an experienced agent
regarding a set of facts are properly a factor in the probable

cause equation.” Dkt. No. 1202 at 40 (quoting United States v.

Robinson, 62 F.3d 1415, 1331 n.9 (11th Cir. 1995)). While Bussey
may contend the agent’s subjective beliefs were mistaken, that
disagreement does not mean it was improper for the agent to include
his subjective beliefs or for the reviewing judge to consider the
agent’s subjective beliefs.

Relatedly, Bussey argues that, because the affiant did not
know the details of Bussey’s trip, he improperly speculated by
concluding the purpose was to “push through fraudulent H-2A
petitions.” Dkt. No. 1231 at 25. However, the affidavit correctly
described Bussey’s statements to the CS during the September 30,
2019 call, and the affiant expressly pointed to his training and
experience as a Homeland Security Investigations Agent to support
his beliefs about the purpose of Bussey’s Mexico trip. The affiant
explained that he has been an agent since 2009 and he has
experience with human trafficking investigations and labor
trafficking more specifically. The agent has specialized training
in visa security and fraud and human trafficking. Dkt. No. 651-1
q 2. The affiant explained that law enforcement was actively

investigating the TCO. Ultimately, the affiant established in the

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affidavit that he is an experienced law enforcement officer, with
access to sufficient facts to form an opinion about the true
purpose of Bussey’s trip to Mexico. Thus, it was proper for the
affiant to include a description of his subjective beliefs in the
affidavit and for the reviewing judge to consider those beliefs in
evaluating probable cause.

Ultimately, the Court concurs with and adopts the Magistrate
Judge’s conclusion that Bussey fails to identify any
misrepresentation or omission related to the September 30, 2019
call (or the trip to Mexico) that would materially impact probable
cause.

III. Probable Cause to Believe That TT1 Was Used in Criminal
Activity

In his Objections, Bussey separately contends that the
Magistrate Judge did not address one of his arguments about TT1.
Dkt. No. 1231 at 26. Specifically, Bussey argues that the
Government only obtained his phone number from “labor
certification paperwork” and that every phone contact made during
the Government’s investigation was initiated by the CS, not by

Bussey. Id. at 26-27. Bussey argues, therefore, that TT1 was not

3 In this section of his Objections, Bussey also contends the affidavit
failed to fully describe an October 1, 2019 meeting between Bussey and
the CS where the CS gave Bussey alcohol (the day after the September 30,
2019 call). Dkt. No. 1231 at 25. Bussey fails to identify any material
misrepresentation or omission about the October 1, 2019 meeting for the
same reason his arguments about the April 2019 call did not. The
affidavit did not rely on any October 1, 2019 meeting to establish
probable cause, and there is no indication that a description of this
meeting in the affidavit would have impacted probable cause.

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“used in an illegal operation.” Id. at 26({(citing United States v.

Degaule, 797 F. Supp. 2d 1332, 1354 (N.D. Ga. 2011)).

Bussey’s Objection is unconvincing. The Magistrate Judge
describes the affidavit’s factual allegations about TT1. Dkt. No.
1202 at 4-5, 20-22. The affidavit explained that TT1 was used
extensively to contact other Target Subjects. Dkt. No. 651-1
Q 131. The affidavit also explained that Bussey had consensual
conversations with the CS and the two set up meetings discussing
potentially criminal conduct during those conversations. Id.
Qq@1 122-30.

Bussey does not dispute that he consistently used TT1 to
contact several Target Subjects, all of whom were suspected of
organized criminal activity. Bussey also does not dispute that he
used TT1 to talk to the CS and, during those conversations, the
two discussed illegal activity and made plans to meet to further
discuss labor schemes. At most, Bussey argues that it was the CS,
not Bussey, who initiated those conversations. Even accepting
Bussey’s contention as true, it would not demonstrate that TT1 was
not used in an illegal operation. To the contrary, the numerous
factual allegations about the use of TT1 in the affidavit support
the conclusion that there was probable cause to believe TT1 was
used in an illegal operation. The Magistrate Judge thoroughly

discusses and considers these allegations. Dkt. No. 1202 at 21-

22. Bussey’s Objection that the Magistrate Judge never responded

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to his argument is, therefore, without merit. Ultimately, the
Court concurs with and adopts the Magistrate Judge’s conclusion
that the affidavit includes undisputed facts supporting probable
cause that TTl was used in an illegal operation.
CONCLUSION

Accordingly, and after conducting an independent and de novo
review of the entire record in this matter, the Court CONCURS with
the Magistrate Judge’s Report and Recommendation, ADOPTS the
Report and Recommendation as the opinion of the Court, and
OVERRULES Bussey’s Objections.

SO ORDERED, this 1 day of May,72025.

HON. AITSA GODBEY WOOD, JUDGE
UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF GEORGIA

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